Case 1:19-cv-20121-JLK Document 22 Entered on FLSD Docket 02/22/2019 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 1:19-cv -20121-JLK

 WARRIOR TRADING, INC., a Delaware corporation
 and ROSS CAMERON, an individual,

 Plaintiffs,

 vs.

 DAVID JAFFEE, individually, or in concert
 with an unknown entity,
 d/b/a “Best Stock Strategy”,

 Defendant.

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         REPORT AND RECOMMENDATION ON PLAINTIFFS’ MOTION FOR
       ORDER TO SHOW CAUSE WHY DEFENDANT SHOULD NOT BE HELD IN
          CONTEMPT OF COURT FOR FAILURE TO COMPLY WITH THE
            COURT'S ORDER GRANTING PRELIMINARY INJUNCTION

        This matter arose on the Plaintiffs’ Motion for Order to Show Cause Why Defendant

 Should Not Be Held in Contempt of Court for the Failure to Comply with this Courts Order

 Granting Preliminary Injunction (“Motion”), filed on February 11, 2019. ECF No. [17]. On

 February 13, 2019, Defendant filed a Declaration in Opposition to Plaintiff’s Motion. ECF No.

 [18]. On February 21, 2019, the Court held a Status Conference on the Motion at which time the

 parties represented that the alleged violations were being reviewed and resolved by the parties and

 that no further hearing was required by the Court at this time.

        Based on the foregoing and for the reasons stated on the record during the February 21,

 2019 hearing, it is RECOMMENDED that the District Court DENY the Motion without

 Prejudice. The parties will have three calendar days from the date of service of this Report and

 Recommendation within which to file written objections, if any, for consideration by the United
Case 1:19-cv-20121-JLK Document 22 Entered on FLSD Docket 02/22/2019 Page 2 of 2



 States District Judge to whom this case is assigned. Any request for an extension of this deadline

 must be made within two calendar days from the date of this Order. Given the fact that the Court’s

 reasoning and the parties positions were fully discussed at the hearing, the time to file objections

 has been shortened.

        Pursuant to Fed. R. Crim. P. 59(b), Eleventh Circuit Rule 3-1, and accompanying Internal

 Operating Procedure 3, the parties are hereby notified that failure to object in accordance with 28

 U.S.C. § 636(b)(1) waives the right to challenge on appeal the district court’s order based on

 unobjected-to factual and legal conclusions. See Thomas v. Arn, 474 U.S. 140 (1985).

        DONE AND SUBMITTED in chambers in Miami, Florida, on February 21, 2019.



                                               _________________________________________
                                               JACQUELINE BECERRA
                                               UNITED STATES MAGISTRATE JUDGE


 Copies furnished via CM/ECF to:
 The Honorable James Lawrence King, United States District Judge
 All counsel of record




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